       Case 1:18-cv-03073-TOR        ECF No. 7   filed 06/07/18   PageID.36 Page 1 of 22



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7

8

9                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WASHINGTON
10

11       SHANNON MCMINIMEE,                              NO. 18-3073-TOR
12
                               Plaintiff,               FIRST AMENDED
13        v.                                            COMPLAINT AND
14
                                                        DEMAND FOR TRIAL BY
         YAKIMA SCHOOL DISTRICT                         JURY
15       NO. 7, and JOHN R. IRION, in his
         individual capacity,
16

17                             Defendants.
18

19
           Shannon McMinimee, by and through her attorneys, alleges:
20

21                        I.      PARTIES AND JURISDICTION
22
           1.    Defendant,      YAKIMA SCHOOL DISTRICT NO. 7 ("YSD" or the
23
     “District”) is a first-class school district organized under the laws of the State of
24

25

      FIRST AMENDED COMPLAINT AND
      DEMAND FOR JURY TRIAL- 1
       Case 1:18-cv-03073-TOR       ECF No. 7    filed 06/07/18   PageID.37 Page 2 of 22



     Washington and a quasi-municipal government agency located in Yakima County,
1

2    Washington.
3
           2.    Defendant, JOHN R. IRION, (“Mr. Irion”) resides in Yakima,
4
     Washington and was the District’s Superintendent at all times relevant to this
5

6    lawsuit.

7          3.    Plaintiff, SHANNON MCMINIMEE (“Ms. McMinimee”) is a resident
8
     of Outlook, Washington, works in Yakima, Washington, for YSD and worked
9
     under the direct supervision of Mr. Irion at all times relevant to this lawsuit.
10

11         4.    All acts complained of occurred within the Eastern District of

12   Washington.
13
           5.    The Federal Court for the Eastern District of Washington has personal
14
     jurisdiction over the parties and subject matter jurisdiction for the claims in this
15

16   complaint pursuant to 28 U.S.C. § 1331, 29 U.S.C. § 2617(a)(2), 29 U.S.C. §
17   206(d)(1), and 28 U.S.C. § 1367(a).
18
           6.    Venue is proper in the Eastern District of Washington under 28 U.S.C.
19
     § 1391(b) because the acts and omissions complained herein occurred in the District
20

21   and Defendant conducts business and/or resides there.
22
           7.    Ms. McMinimee is not required to exhaust administrative remedies or
23
     comply with pre-filing notice of tort claim requirements regarding the Family
24

25   Medical Leave Act (FMLA), Equal Pay Act (EPA), and RCW 49.52.050 Wage

      FIRST AMENDED COMPLAINT AND
      DEMAND FOR JURY TRIAL- 2
       Case 1:18-cv-03073-TOR      ECF No. 7       filed 06/07/18   PageID.38 Page 3 of 22



     Rebate Act (WRA) claims she asserts in this lawsuit. On April 26, 2018, Ms.
1

2    McMinimee served the defendants with an RCW 4.96, et. seq. notice of tort claim
3
     (dated April 25, 2018) and will move to amend her complaint to allege additional
4
     facts and claims once the sixty-day post-service timeframe elapses.
5

6                           II.    INTRADISTRICT ASSIGNMENT

7          8.     This action arose in Yakima County, Washington. Therefore, Ms.
8
     McMinimee respectfully requests that the case be assigned to the Yakima Division
9
     of the Eastern District of Washington.
10

11                                          III.     FACTS

12         9.     Plaintiff re-alleges the above paragraphs.
13
           10.    On or about March 13, 2017 the YSD hired Ms. McMinimee as its
14
     Associate Superintendent for Human Resources.
15

16         11.    Between March 13, 2017 and November 6, 2017, Ms. McMinimee
17   opposed illegal activities that Mr. Irion either directed or sanctioned.
18
           12.    The illegal activities that Ms. McMinimee opposed included, without
19
     limitation, (a) Defendants’ unequal treatment of male and female employees, (b)
20

21   Defendants’ failure to address gender discrimination against Ms. McMinimee and
22
     other female employees of YSD, (c) Defendants’ discrimination against employees
23
     based on their failure to conform to certain gender stereotypes, (d) Defendants’
24

25   violation of RCW 41.56.140’s prohibition on direct dealing, (e) Defendants’ desire

      FIRST AMENDED COMPLAINT AND
      DEMAND FOR JURY TRIAL- 3
       Case 1:18-cv-03073-TOR      ECF No. 7   filed 06/07/18   PageID.39 Page 4 of 22



     to issue teaching contracts to those who did not hold effective teaching certificates
1

2    in violation of RCW 28A.405.210, (f) Defendants’ failure to comply with federal
3
     laws regarding the Defendants’ treatment of disabled employees, (g) Defendants’
4
     failures to comply with federal laws regarding the Defendants’ treatment of disabled
5

6    students, and (h) Defendants’ failures to comply with Title IX with respect to

7    responding to student allegations of sexual harassment and sexual violence.
8
           13.    As it relates to points (a) and (b), above, Ms. McMinimee’s complaint
9
     included her good faith opposition to Mr. Irion’s pay policy commonly referred to
10

11   as the “Jack Factors.”

12         14.    Briefly stated, the Jack Factors were the means by which Mr. Irion
13
     determined the salary schedule placement (and, in turn, pay) of managerial level
14
     District employees, including the below-described “Superintendent’s Group” and
15

16   the District’s administrators. The Jack Factors included placing internal hires one
17   step higher on the salary schedule than they would otherwise be placed based on
18
     experience and moving individuals up on the salary schedule to ensure that they
19
     were being paid more than any subordinate that they would have.
20

21         15.    During the August 2017 timeframe, Ms. McMinimee expressed
22
     concern to Mr. Irion that the above referenced Jack Factors discriminatorily affected
23
     female administrators (as well as non-white administrators). This conversation took
24

25   place in Mr. Irion’s office and after Ms. McMinimee had expressed her concerns

     FIRST AMENDED COMPLAINT AND
     DEMAND FOR JURY TRIAL- 4
       Case 1:18-cv-03073-TOR       ECF No. 7   filed 06/07/18    PageID.40 Page 5 of 22



     about the Jack Factors to others. Mr. Irion dismissed Ms. McMinimee’s concerns
1

2    identifying that the internal employee whose salary schedule placement was at issue
3
     at the moment was a female and would be making more than her subordinate.
4
           16.    Following the above-referenced conversation Ms. McMinimee made
5

6    modifications to the Jack Factors to try to ameliorate the negative impacts of the

7    Jack Factors to female administrators.
8
           17.    On or about October 30, 2017, Mr. Irion held a meeting with Ms.
9
     McMinimee that he identified to her was investigatory in nature.
10

11         18.    On November 6, 2017, Defendants placed Ms. McMinimee on paid

12   administrative leave.
13
           19.    Defendants’ involuntary placement          of    Ms. McMinimee       on
14
     administrative leave (and subsequent attempts to fire her) was in retaliation for Ms.
15

16   McMinimee’s good faith reasonable belief that she was opposing the above-
17   referenced illegal activity.
18
           20.    Defendants’ involuntary placement of Ms. McMinimee on paid
19
     administrative leave caused Ms. McMinimee to experience serious health problems
20

21   which, in turn, caused her to use her rights under the Family Medical Leave Act
22
     (“FMLA”).
23
           21.    On March 15, 2018, Ms. McMinimee’s then-attorney (Sarah Evans)
24

25   informed YSD’s attorney (Michael Rorick) that Ms. McMinimee needed medical

      FIRST AMENDED COMPLAINT AND
      DEMAND FOR JURY TRIAL- 5
       Case 1:18-cv-03073-TOR     ECF No. 7    filed 06/07/18   PageID.41 Page 6 of 22



     workplace leave and, as part of that notification, transmitted (to Mr. Rorick) a
1

2    physician’s note dated March 14, 2018.
3
           22.   As of March 15, 2018, Defendants knew or had reason to know that
4
     Ms. McMinimee’s medical leave might be for FMLA reasons. 29 C.F.R. §
5

6    825.300(b)(1).

7          23.   Federal regulations required that Defendants inform Ms. McMinimee
8
     as to whether she was eligible for FMLA within five business days of March 15,
9
     2018, which, in this instance, was March 22, 2018. Id. Federal regulations refer to
10

11   such a notification as a “FMLA Eligibility Notice.” See id.

12         24.   Defendants did not give Ms. McMinimee an FMLA Eligibility Notice
13
     within five business days of March 15, 2018. This was the first time the District
14
     violated the FMLA.
15

16         25.   On March 26, 2018, Ms. McMinimee: (a) sent an email to the YSD
17   employees who handle leave and FMLA issues, Monette Dennis and Gina Tookes,
18
     (b) informed Ms. Tookes and Ms. Davis that she intended to take leave under the
19
     FMLA, (c) informed Ms. Tookes and Ms. Davis that she was eligible for leave
20

21   under the FMLA, and (d) informed Ms. Tookes and Ms. Davis of the serious health
22
     condition giving rise to her FMLA request.
23
           26.   Ms. McMinimee’s March 26, 2018, email further stated:
24

25

     FIRST AMENDED COMPLAINT AND
     DEMAND FOR JURY TRIAL- 6
       Case 1:18-cv-03073-TOR    ECF No. 7    filed 06/07/18   PageID.42 Page 7 of 22



           I am asking that you please confirm what work calendar date (using the
1
           work calendar applicable to the Management Team/Superintendent’s
2          Group) you project will be my last day of having accrued leave
           available and then what work calendar date you project that I will
3
           exhaust FMLA.
4
           27.   Federal regulations required that YSD give Ms. McMinimee an FMLA
5

6    Eligibility Notice within five business days of March 26, 2018, which, in this

7    instance, was April 2, 2018. 29 C.F.R. §825.300(b)(1).
8
           28.   Defendants did not give Ms. McMinimee an FMLA Eligibility Notice
9
     by April 2, 2018, i.e. within five business days of March 26, 2018. This was the
10

11   second time the District violated the FMLA.

12         29.   On April 3, 2018, YSD employee Kelli York (Ms. McMinimee’s direct
13
     subordinate and not an individual who typically handles FMLA issues) informed
14
     Ms. McMinimee that (a) McMinimee was eligible for FMLA (b) Ms. McMinimee
15

16   had been designated a “key employee” under the FMLA, and (c) that Ms.
17   McMinimee had “seven days” to complete and return, to YSD, the District’s FMLA
18
     medical certification form. Ms. York’s April 3, 2018, email contained a nine page
19
     .pdf attachment labeled “MCMINIMEE 180403.pdf” that included a boilerplate
20

21   single page document titled “FAMILY AND MEDICAL LEAVE”, a single page
22
     document titled “APPLICATION FOR FMLA LEAVE”, a four page “Certification
23
     of Health Care Provider for Employee’s Serious Health Condition,” and a three
24

25   page “Assistant Superintendent for Human Resources” job description.

     FIRST AMENDED COMPLAINT AND
     DEMAND FOR JURY TRIAL- 7
       Case 1:18-cv-03073-TOR      ECF No. 7    filed 06/07/18   PageID.43 Page 8 of 22



           30.    The District’s April 3, 2018, email to Ms. McMinimee violated the
1

2    FMLA because 29 C.F.R. § 825.305(b) gives Ms. McMinimee at least 15 calendar
3
     days (as opposed to “seven days”) to complete and return the FMLA serious health
4
     condition certification form. This was the third time the District violated the
5

6    FMLA.

7          31.    Federal regulation also required that the Defendants provide Ms.
8
     McMinimee a written FMLA “Rights and Responsibilities” notice at the same time
9
     it gave Ms. McMinimee her FMLA Eligibility Notice. 29 C.F.R. § 825.300(c)(1).
10

11         32.    The FMLA Rights and Responsibilities Notice must, inter alia, (a)

12   inform the employee whether “the leave may be designated and counted against the
13
     employee’s annual FMLA leave entitlement if qualifying” (b) inform the employee
14
     of “[t]he employee's right to substitute paid leave, whether the employer will require
15

16   the substitution of paid leave, the conditions related to any substitution, and the
17   employee's entitlement to take unpaid FMLA leave if the employee does not meet
18
     the conditions for paid leave,” and (c) inform the employee as to “arrangements for
19
     making [premium payments to maintain health benefits].” 29 C.F.R. §
20

21   825.300(c)(i)(iii)&(iv).
22
           33.    The Defendants’ April 3, 2018, email and attachment violated the
23
     FMLA by failing to inform Ms. McMinimee of the above-referenced FMLA rights.
24

25   This was the fourth, fifth, and sixth time the Defendants violated the FMLA.

     FIRST AMENDED COMPLAINT AND
     DEMAND FOR JURY TRIAL- 8
       Case 1:18-cv-03073-TOR       ECF No. 7   filed 06/07/18   PageID.44 Page 9 of 22



             34.   On April 4, 2018, Ms. McMinimee informed YSD that it had violated
1

2    the FMLA for the above-referenced reasons and that those FMLA violations created
3
     illegal barriers that prevented Ms. McMinimee from exercising her FMLA rights.
4
             35.   Ms. McMinimee’s April 4, 2018 email also informed YSD that its
5

6    withholding of certain contractually allowed wages violated Washington’s WPA.

7    See infra.
8
             36.   On April 16, 2018, the YSD received Ms. McMinimee’s completed
9
     “Certification of Health Care Provider for Employee’s Serious Health Condition”
10

11   form.

12           37.   On April 17, 2018, the YSD received Ms. McMinimee’s semi-
13
     completed “APPLICATION FOR FMLA LEAVE” form. The form was “semi-
14
     completed” because YSD had not informed Ms. McMinimee if she would be
15

16   required or allowed to access her accrued leave, what forms of her accrued leave
17   would be available for her to use, and when that leave would be exhausted, which
18
     in turn, rendered her unable to ascertain the begin and end dates of her FMLA leave.
19
             38.   On April 17, 2018, Ms. McMinimee further informed YSD that:
20

21           I am unable to calculate when I will exhaust my accrued leave and thus
             begin accessing FMLA leave consistent with the District's requirement.
22
             I have asked multiple time that the District to please confirm what work
23           calendar date (using the work calendar applicable to the Management
             Team/Superintendent’s Group) will be my last day of having accrued
24           leave available if March 26, 2018 is recorded as my first use of leave
25           and then what work calendar date the District projects that I will

      FIRST AMENDED COMPLAINT AND
      DEMAND FOR JURY TRIAL- 9
      Case 1:18-cv-03073-TOR     ECF No. 7   filed 06/07/18    PageID.45 Page 10 of 22



           exhaust FMLA if I am required to take the full twelve weeks of FMLA
1
           leave available to me, but those requests have gone unanswered. That
2          is perplexing, as I have watched this same information be provided to
           other employees and do not understand why I am being treated
3
           differently than other employees.
4
           39.   Federal regulations required that YSD give Ms. McMinimee an FMLA
5

6    Designation Notice within five business days of April 16, 2018, which, in this

7    instance, was April 23, 2018. 29 C.F.R. §825.300(d)(1).
8
           40.   Federal regulations further required that the FMLA Designation
9
     Notice “notify the employee of the amount of leave counted against the employee's
10

11   FMLA leave entitlement [and] [i]f the amount of leave needed is known at the time

12   the employer designates the leave as FMLA-qualifying, the employer must notify
13
     the employee of the number of hours, days, or weeks that will be counted against
14
     the employee's FMLA leave entitlement in the designation notice.” 29 C.F.R. §
15

16   825.300(d)(6).
17         41.   On April 17, 2018, YSD informed Ms. McMinimee of her sick leave,
18
     vacation, and personal leave balances that existed as of March 27, 2018, but YSD
19
     did not, as required by the FMLA, tell Ms. McMinimee as to whether the sick leave,
20

21   vacation leave, and personal leave balances would be counted against Ms.
22
     McMinimee’s 12-week FMLA entitlement. This is the District’s seventh violation
23
     of the FMLA.
24

25

     FIRST AMENDED COMPLAINT AND
     DEMAND FOR JURY TRIAL- 10
      Case 1:18-cv-03073-TOR         ECF No. 7   filed 06/07/18   PageID.46 Page 11 of 22



           42.    As of the date of this complaint the District has yet to tell Ms.
1

2    McMinimee as to when her FMLA will begin and when it will end. This, in turn,
3
     has caused (and continues to cause) Ms. McMinimee uncertainty as to when the
4
     leave will begin and end which, in turn, has caused Ms. McMinimee damages in an
5

6    amount to be proven at trial.

7                               IV. CAUSES OF ACTION
8
            (CAUSE OF ACTION NO. 1 & 2 – VIOLATION OF 29 U.S.C. §
9               2615(A)(1)-(2) – FAMILY MEDICAL LEAVE ACT –
                     INTERFERENCE & DISCRIMINATION)
10

11         43.    Plaintiff re-alleges the above paragraphs.

12         44.    In order to prosecute a FMLA interference claim the employee must
13
     show that she (1) was eligible for the FMLA's protections, (2) the employer was
14
     covered by the FMLA, (3) the employee was entitled to leave under the FMLA, (4)
15

16   the employee provided sufficient notice of her intent to take leave, and (5) the
17   employer denied her FMLA benefits to which she was entitled.
18
           45.    Ms. McMinimee worked for YSD for over 1,250 hours before the start
19
     of her FMLA leave.
20

21         46.    The YSD employed Ms. McMinimee 12 months before the beginning
22
     of her FMLA leave.
23
           47.    Ms. McMinimee was entitled to leave under the FMLA given her
24

25   serious health condition as shown by, inter alia, the “Certification of Health Care

     FIRST AMENDED COMPLAINT AND
     DEMAND FOR JURY TRIAL- 11
       Case 1:18-cv-03073-TOR      ECF No. 7    filed 06/07/18   PageID.47 Page 12 of 22



     Provider for Employee’s Serious Health Condition” (and accompanying physician
1

2    letter) that Ms. McMinimee gave Defendants on or about April 17, 2018.
3
           48.    Ms. McMinimee provided the YSD notice of her intent to take FMLA
4
     leave on March 15, 2018 and March 26, 2018.
5

6          49.    Defendants interfered with Ms. McMinimee’s FMLA rights by

7    violating the FMLA on at least seven separate occasions as set forth above.
8
     Defendants have further interfered with Ms. McMinimee’s FMLA rights by failing
9
     to inform her as to when her FMLA leave will begin and when it will end.
10

11         50.    Defendants’ failure to follow the FMLA has required Ms. McMinimee

12   to resort to filing this lawsuit so as to have the Court exercise its equitable powers,
13
     as allowed under 29 C.F.R. § 325.300(e), to compel Defendants to inform Ms.
14
     McMinimee as to when her FMLA leave will begin and end.
15

16         51.    Defendants’ failure to follow the FMLA’s notice provisions has caused
17   her uncertainty as to whether or not she is on FMLA which, in turn, has cost Ms.
18
     McMinimee between $600 - $700/day in use of her own accrued leave.
19
           52.    Defendants have further interfered with Ms. McMinimee’s FMLA
20

21   rights by, without any basis, designating Ms. McMinimee as a “key employee” even
22
     though YSD has no basis to conclude that, as of March 2018, the YSD would suffer
23
     “substantial and grievous economic injury” if required to restore Ms. McMinimee
24

25

      FIRST AMENDED COMPLAINT AND
      DEMAND FOR JURY TRIAL- 12
      Case 1:18-cv-03073-TOR       ECF No. 7   filed 06/07/18   PageID.48 Page 13 of 22



     to her job upon the conclusion of her FMLA leave. As such, Ms. McMinimee seeks
1

2    a declaration that she is not a “key employee” for the purposes of the FMLA.
3
           53.      Ms. McMinimee also seeks a declaration from the Court that YSD
4
     violated the FMLA for the seven reasons listed in the statement of facts section of
5

6    this complaint.

7          54.      Ms. McMinimee further seeks a declaration that she be allowed to
8
     access and utilize her own leave to the same extent the YSD allows its other
9
     employees to do the same under the FMLA.
10

11         55.      In order to prosecute a FMLA discrimination claim the employee must

12   show (1) she availed herself of a protected right under the FMLA; (2) she suffered
13
     an adverse employment decision; and (3) there is a causal connection between the
14
     two actions.
15

16         56.      Regarding point (1), Ms. McMinimee availed herself to her right to
17   request FMLA leave on March 15, 2018 and March 26, 2018.
18
           57.      Regarding point (2), Defendants subjected Ms. McMinimee to the
19
     following adverse employment decisions (a) by (on April 12, 2018) threatening Ms.
20

21   McMinimee with a Loudermill termination hearing (which was scheduled for April
22
     17, 2018) even though (as of April 3, 2018) the Defendants acknowledged that Ms.
23
     McMinimee was FMLA eligible and (b) by (on March 28, 2018) depriving Ms.
24

25   McMinimee of the below-referenced contractually mandated pay increases (more

     FIRST AMENDED COMPLAINT AND
     DEMAND FOR JURY TRIAL- 13
       Case 1:18-cv-03073-TOR     ECF No. 7   filed 06/07/18   PageID.49 Page 14 of 22



     on that below) while allowing Ms. McMinimee’s similarly-situated co-workers to
1

2    receive those benefits on March 30, 2018.
3
            58.    Defendants’ acts have caused Plaintiff damages in an amount to be
4
     proven at trial.
5

6    (CAUSE OF ACTION NO. 3 – VIOLATION OF WASHINGTON’S WAGE
                    REBATE ACT –RCW 49.52.050)
7
            59.    An employee prosecuting a RCW 49.52.050(2) Wage Rebate Act
8

9    (WRA) claim must show that (a) the employer (or employer’s agent) (b) willfully
10   and intentionally deprived the employee of (c) “any part of his or her wages” and/or
11
     paid the “employee a lower wage than the wage such employer is obligated to pay
12

13
     such employee by any statute, ordinance, or contract.”

14          60.    On March 13, 2017, Ms. McMinimee and Mr. Irion (on behalf of the
15
     YSD) entered into a Letter of Intent for her hiring as the Associate Superintendent
16
     for Human Resources.
17

18          61.    Several days after Ms. McMinimee’s hiring, Mr. Irion contacted Ms.

19   McMinimee by telephone and told her that he did not want to upset Associate
20
     Superintendent Scott Izutsu for “political reasons” and it would be better if Ms.
21
     McMinimee were called “Assistant Superintendent for Human Resources.”
22

23          62.    Ms. McMinimee believed that this “Associate-to-Assistant” job title

24   change was a change that was being made only for appearance sake and would have
25

      FIRST AMENDED COMPLAINT AND
      DEMAND FOR JURY TRIAL- 14
       Case 1:18-cv-03073-TOR      ECF No. 7    filed 06/07/18   PageID.50 Page 15 of 22



     no other impact on her compensation. Indeed, Ms. McMinimee was never asked to
1

2    sign a revised Letter of Intent reflecting that this would be a contractual change, nor
3
     was she ever issued a contract that identified her as an Assistant Superintendent.
4
           63.      Ms. McMinimee was a member of the YSD “Superintendent Group”
5

6    meaning, for the purpose of this claim, that she was entitled to retroactive pay

7    increases for the portion of the 2016-2017 work year that she was employed by the
8
     YSD and all of the 2017-2018 work year to date.
9
           64.      The “Superintendent Group” includes, Ms. McMinimee, Deputy
10

11   Superintendent Cecelia Mahre, Associate Superintendent Scott Izutsu, and

12   Assistant Superintendent Alicia Jacob.
13
           65.      Mr. Irion advised Ms. McMinimee at her hiring that he was planning
14
     to seek a retroactive pay raise for the Superintendent’s Group for the 2016-2017
15

16   school year, as well as a pay raise for the Superintendent’s Group for the 2017-2018
17   school year.
18
           66.      On June 30, 2017, Mr. Irion made a request that the School Board
19
     approve the retroactive pay raise for the Superintendent’s Group for the 2016-2017
20

21   school year, as well as a pay raise for the Superintendent’s Group for the 2017-2018
22
     school year.
23
           67.      During the months of July, August, and September 2017, Mr. Irion
24

25   advised Ms. McMinimee individually and the Superintendent’s Group collectively

      FIRST AMENDED COMPLAINT AND
      DEMAND FOR JURY TRIAL- 15
      Case 1:18-cv-03073-TOR      ECF No. 7   filed 06/07/18   PageID.51 Page 16 of 22



     that the retroactive pay raise for the Superintendent’s Group for the 2016-2017
1

2    school year, as well as a pay raise for the Superintendent’s Group for the 2017-2018
3
     school year, would be forthcoming but would be delayed until later in the school
4
     year because of certain appearance concerns voiced by the School Board. Mr. Irion
5

6    also shared that the members of the Superintendents Group would get their

7    individual employment contracts for the year when the raises were approved.
8
           68.    On March 28, 2018, YSD employee Jennifer Baird (Mr. Irion’s
9
     Executive Assistant) informed the YSD’s agent, Michael Rorick:
10

11

12

13

14

15

16

17

18

19         69.    The “Shannon” referenced in the March 28, 2018, email refers to
20
     Shannon McMinimee.
21
           70.    On April 4, 2018, Ms. McMinimee informed YSD employees Kelli
22

23   York and Monette Dennis:

24         To the extent the District withholds (or has already withheld) payment
25
           of the retroactive pay increases to me, the District is wrongfully
           withholding wages in violation of Washington law, incurring civil
     FIRST AMENDED COMPLAINT AND
     DEMAND FOR JURY TRIAL- 16
      Case 1:18-cv-03073-TOR       ECF No. 7    filed 06/07/18   PageID.52 Page 17 of 22



           liability for my attorney’s fees and costs, as well as double damages.
1
           The District is also risking individual criminal and civil liability for Dr.
2          Irion, the members of the School Board, and any other employee who
           has participated in a decision to intentionally withhold wages from
3
           [me]. See RCW 49.52.050 and RCW 49.52.070. Please consider the
4          District on notice with respect to this issue should the retroactive pay
           increases be unlawfully withheld from me.
5

6          71.    No employee or agent of the Defendants substantively responded to

7    the above-referenced allegation in Ms. McMinimee’s April 4, 2018, email.
8
           72.    Although on notice that its failure to pay Ms. McMinimee her
9
     contractually allowed pay increase, YSD did not provide Ms. McMinimee her pay
10

11   increase yet paid the other members of the Superintendent’s Group their retroactive

12   pay increases.
13
           73.    The Defendants’ acts and omissions have caused Plaintiff to be
14
     damaged in an amount to be proven at trial.
15

16         74.    Given Defendants’ willful and intentional withholding of Ms.
17   McMinimee’s wages Ms. McMinimee is entitled to double damages, attorneys’
18
     fees, and prejudgment interest.
19

20
            (CAUSE OF ACTION NO. 4 – EQUAL PAY ACT - RETALIATION)

21         75.    In order to state a claim for retaliation under the Equal Pay Act a
22
     plaintiff must establish (1) engagement in protected activity, (2) a materially
23
     adverse action which would dissuade a reasonable worker from making or
24

25   supporting a charge of discrimination, and (3) causality.

     FIRST AMENDED COMPLAINT AND
     DEMAND FOR JURY TRIAL- 17
       Case 1:18-cv-03073-TOR      ECF No. 7   filed 06/07/18   PageID.53 Page 18 of 22



           76.     Ms. McMinimee engaged in protected activity in August and
1

2    September of 2017 by opposing the Jack Factors and then by making modifications
3
     to the Jack Factors.
4
           77.     Defendants subjected Ms. McMinimee to an adverse employment
5

6    action by, inter alia, placing her on administrative leave so as to buy time in which

7    Defendants could come up with a reason to fire Ms. McMinimee. By placing Ms.
8
     McMinimee on administrative leave (and barring her from her District office as
9
     well her ability to access any electronic files and her saved emails), the District
10

11   barred her from having access to documents and records that she would need to

12   defend herself against Defendants’ pretextual allegations.
13
           78.     The proximity in time between Ms. McMinimee’s oppositional
14
     activity and the adverse action, coupled with Mr. Irion’s treatment of Ms.
15

16   McMinimee during the August 2017 meeting and October 30, 2017, interaction is
17   sufficient to establish causation.
18
           79.     Defendants’ actions have damaged Ms. McMinimee in an amount to
19
     be proven at trial.
20

21        (CAUSE OF ACTION NO. 5 – VIOLATION OF EQUAL PAY ACT)
22
           80.     To prevail on an Equal Pay Act claim a plaintiff must show that her
23
     employer has paid male and female employees different wages for substantially
24

25   equal work.

      FIRST AMENDED COMPLAINT AND
      DEMAND FOR JURY TRIAL- 18
          Case 1:18-cv-03073-TOR   ECF No. 7   filed 06/07/18   PageID.54 Page 19 of 22



              81.   Defendants paid Ms. McMinimee a pro-rated salary based on the 2016-
1

2    2017 school year annual salary of $127,658.00 as an Assistant Superintendent, Step
3
     6.
4
              82.   Defendants paid Mr. Izutsu $130,286 for the 2016-2017 school year as
5

6    an Associate Superintendent, Step 6. Mr. Izutsu has received a retroactive pay

7    increase for the 2016-2017 school year, whereas that has been withheld from Ms.
8
     McMinimee.
9
              83.   The above-referenced pay disparities also applied (and apply) to the
10

11   2017-2018 school year. Additionally, and as set forth above, Mr. Izutsu has received

12   a pay increase for the 2017-2018 school year, whereas the same has been withheld
13
     from Ms. McMinimee.
14
              84.   Ms. McMinimee and Mr. Izutsu conducted substantially equal work as
15

16   both individuals (a) reported to the District’s Superintendent, (b) worked as part of
17   the Superintendent Group throughout the calendar year, (c) were subject to the
18
     terms and condition of the District’s Management Team Handbook, (d) were
19
     subject to the same provisions regarding benefits as set out in the applicable
20

21   Collective Bargaining Agreement, (e) maintained offices at the District’s Central
22
     Services building, (f) led various bargaining teams, (g) ostensibly worked similar
23
     hours, (h) played key roles in the District’s budgeting and staffing, (i) were
24

25   authorized to sign warrants and contracts the District’s behalf, and (j) were required

      FIRST AMENDED COMPLAINT AND
      DEMAND FOR JURY TRIAL- 19
      Case 1:18-cv-03073-TOR        ECF No. 7   filed 06/07/18   PageID.55 Page 20 of 22



     to attend the same Board Meetings, Management Team Meetings, and Cabinet
1

2    Meetings.
3
           85.    The District did not utilize (i) a seniority system; (ii) a merit system;
4
     or (iii) a system which measured earnings by quantity or quality of production in
5

6    establishing the pay rates of Ms. McMinimee and Mr. Izutsu.

7          86.    Nor did the District utilize a differential based on any other factor other
8
     than sex as Ms. McMinimee and Mr. Izutsu have similar licensing (both are licensed
9
     attorneys), education, and administrative experience.
10

11         87.    In fact, although Ms McMinimee is not required to prove

12   discriminatory intent to prevail on her EPA claim, evidence of Defendants’
13
     deceptive (and discriminatory) intent exists given the statement that Mr. Irion made
14
     to Ms. McMinimee shortly after her March 13, 2017, hire date when Mr. Irion told
15

16   Ms. McMinimee that he would be changing her job title from Associate
17   Superintendent to Assistant Superintendent for “political reasons” associated with
18
     not offending Mr. Izutsu. Yet in making that statement, Mr. Irion hid from Ms.
19
     McMinimee the fact that he was relegating her to a lower pay scale.
20

21         88.    Defendants’ actions toward Ms. McMinimee were knowing and
22
     willful and caused Ms. McMinimee damages in an amount to be proven at trial.
23
                               V.     PRAYER FOR RELIEF
24

25         Plaintiff respectfully prays for:

     FIRST AMENDED COMPLAINT AND
     DEMAND FOR JURY TRIAL- 20
      Case 1:18-cv-03073-TOR      ECF No. 7    filed 06/07/18   PageID.56 Page 21 of 22



     A.    Compensation for all injury and damages suffered by Ms. McMinimee
1

2    including, but not limited to, both economic and non-economic damages, in the
3
     amount to be proven at trial including back pay, front pay, pre and post judgment
4
     interest, lost benefits of employment, adverse tax consequences of any award for
5

6    economic damages, liquidated damages, and general damages relating to emotional

7    distress and mental anguish damages as provided by law.
8
     B.    Plaintiff’s reasonable attorneys, expert fees, and costs, pursuant to 29 U.S.C.
9
     § 2617(a)(3), RCW 49.52.070, 29 U.S.C. § 216(b), and as otherwise provided by
10

11   law as well as the private attorney general theory of recovery of reasonable attorney

12   fees and costs in employment related cases.
13
     C.    For the Court to use its equitable powers to declare that Defendants’ actions
14
     have violated the FMLA and WRA and, to the extent necessary, order the
15

16   Defendants to comply with the FMLA.
17   D.    For such other and further relief as this Court deems just and equitable.
18
           Respectfully submitted this 7th day of June 2018.
19
                                      /s Matthew Crotty
20
                                      MATTHEW Z. CROTTY, WSBA 39284
21                                    Crotty & Son Law Firm, PLLC
                                      905 West Riverside, Suite 404
22
                                      Spokane, WA 99201
23                                    Telephone: 509.850.7011

24                                    Attorney for Plaintiff
25

     FIRST AMENDED COMPLAINT AND
     DEMAND FOR JURY TRIAL- 21
      Case 1:18-cv-03073-TOR     ECF No. 7     filed 06/07/18   PageID.57 Page 22 of 22



                              CERTIFICATE OF SERVICE
1

2          I certify that I filed the above-captioned document with the Court via the
3
     Court’s CM/ECF system which will cause the attorneys who have appeared in this
4
     action to be served with this document.
5

6          Dated this 7th day of June 2018.

7
                                    /s/ Matthew Crotty
8
                                    MATTHEW Z. CROTTY
9                                   Crotty & Son Law Firm, PLLC
                                    905 West Riverside, Suite 404
10                                  Spokane, WA 99201
11                                  Telephone: 509.850.7011

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     FIRST AMENDED COMPLAINT AND
     DEMAND FOR JURY TRIAL- 22
